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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-0753V
                                     Filed: March 23, 2017
                                         UNPUBLISHED
*********************************
JENNIFER ARNETT,                                  *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Scott Kelly, Roberts, Kelly, and Bucio, LLP, Sidney, OH, for petitioner.
Lara Englund, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On July 17, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleged that she suffered Guillain-Barré Syndrome (“GBS”) caused-in-
fact by the trivalent influenza vaccine she received on November 19, 2012. Petition at
1, ¶ 6. On October 31, 2016, the undersigned issued a decision awarding
compensation to petitioner based on the parties’ stipulation. (ECF No. 38).

      On March 14, 2017, petitioner filed a motion for attorneys’ fees and costs,
requesting attorneys’ fees in the amount of $14,002.50 and attorneys’ costs in the
amount of $1,617.09 for a total amount of $15,619.59. Petitioner’s Motion for Attorneys’
Fees and Costs (“Pet. Motion”) (ECF No. 43). In accordance with General Order #9,

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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petitioner’s counsel represents that petitioner incurred no out-of-pocket expenses. See
Affidavit from Petitioner’s Counsel, filed as 2nd Attachment to Pet. Motion (ECF No. 43-
2).

         On March 21, 2017, respondent filed a response stating respondent has no
objection to the overall amount sought by petitioner. (ECF No. 44). Respondent adds,
however, that the lack of objection “should not be construed as admission, concession,
or waiver as to the hourly rates requested, the number of hours billed, or the other
litigation related costs.” Id.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $15,619.593 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Scott Kelly.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
